    Case: 1:22-cv-02631 Document #: 20 Filed: 12/20/22 Page 1 of 3 PageID #:115



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                    )
 LOIS WASHINGTON,                                   )
                                                    )
                Plaintiff,                          )      Case No.: 1:22-cv-02631
                                                    )
       v.                                           )
                                                    )      Judge: Honorable Nancy L. Maldonado
 PORTFOLIO RECOVERY ASSOCIATES,                     )
                                                    )
                                                    )
                Defendant.                          )


 DEFENDANT PORTFOLIO RECOVERY ASSOCIATES’ MOTION FOR JUDGMENT

       Defendant, Portfolio Recovery Associates (“Portfolio” or “PRA”), by and through its

attorneys, David M. Schultz and Ruddy S-A. Abam of Hinshaw & Culbertson LLP, pursuant to

Federal Rules of Civil Procedure 41 and 56, hereby moves that judgment be entered in its favor

and against Plaintiff as to all claims asserted in the Complaint. In support of its Motion, Defendant

incorporates by reference the arguments made and the authorities cited in its Memorandum of Law,

filed contemporaneously with this Motion.

       WHEREFORE, Defendant, Portfolio Recovery Associates requests that this Court enter an

Order granting judgment in Defendant’s favor and against Plaintiff on all claims asserted in the

Complaint and that judgment be entered thereon pursuant to the Federal Rules of Civil Procedure.

Dated: December 20, 2022

                                                        Respectfully Submitted,

                                                        PORTFOLIO RECOVERY ASSOCIATES,

                                                        /s/ Ruddy S-A. Abam

                                                        David M. Schultz
                                                        Ruddy S-A. Abam
                                                        HINSHAW & CULBERTSON LLP
                                                        151 North Franklin Street, Suite 2500
                                                        Chicago, IL 60606


                                                                                     1051266\311723740.v2
Case: 1:22-cv-02631 Document #: 20 Filed: 12/20/22 Page 2 of 3 PageID #:116




                                        Tel: 312-704-3000
                                        E-mail: dschultz@hinshawlaw.com
                                        E-mail: RAbam@hinshawlaw.com




                                    2
                                                                 1051266\311723740.v2
    Case: 1:22-cv-02631 Document #: 20 Filed: 12/20/22 Page 3 of 3 PageID #:117




                               CERTIFICATE OF SERVICE

       I, Ruddy Abam, an attorney, hereby certify that on December 20, 2022 I electronically filed

the foregoing DEFENDANT’S MOTION FOR JUDGMENT with the Clerk of the Court using

the ECF system, which sent electronic notification of the filing on the same day and was served

upon all parties of record via the Court’s CM/ECF system and/or by using Mail and U.S. Mail.

       Pro Se
       Lois Washington
       2838 83rd Street
       Chicago, IL 60652
       Telephone: (773) 999-4845
       Email: loiswashington63@outlook.com




                                                3
                                                                                  1051266\311723740.v2
